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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,    .
                              .
          Plaintiff,          .        CR No. 21-0040-05 (TNM)
                              .
     v.                       .
                              .
 ROBERT MORSS,                .        Washington, D.C.
                              .        Tuesday, July 20, 2021
          Defendant.          .        4:00 p.m.
 . . . . . . . . . . . . . . ..



                  TRANSCRIPT OF DETENTION HEARING
              BEFORE THE HONORABLE G. MICHAEL HARVEY
                  UNITED STATES MAGISTRATE JUDGE



APPEARANCES:

For the Government:              MELISSA J. JACKSON, AUSA
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Court Reporter:                  BRYAN A. WAYNE, RPR, CRR
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                                 333 Constitution Avenue NW
                                 Washington, DC 20001
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Proceedings reported by stenotype shorthand.
Transcript produced by computer-aided transcription.
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 1                            P R O C E E D I N G S

 2                            (Via Videoconference)

 3              THE DEPUTY CLERK:     This is case 21-CR-40,

 4   United States of America versus Robert Morss.        This is

 5   scheduled to be a continued detention hearing held by video.

 6   Will the parties please introduce themselves for the Court,

 7   beginning with the government.

 8              MS. JACKSON:    Good afternoon.     This is

 9   AUSA Melissa Jackson on behalf of the United States.

10              MS. GAUGHAN:    Good afternoon, Your Honor.

11   Kathleen Gaughan on behalf of Mr. Morss.

12              MS. TOPLIN:    And this is Elizabeth Toplin as well,

13   Your Honor.

14              THE COURT:    Good afternoon.    And, Mr. Morss, I

15   just want to make sure you can hear me.       Raise your hand.

16        (Defendant complies.)

17              PRETRIAL OFFICER:     Good afternoon, Your Honor.

18   Dashanta Valentine-Lewis, Pretrial Services.

19              THE COURT:    Thank you.

20        I do want to remind everyone who's listening on the

21   public line that pursuant to Chief Judge Howell's Standing Order

22   20-20, recording and rebroadcasting these court proceedings is

23   strictly prohibited.     Violation of that prohibition may result

24   in sanctions, including removal of court-issued media credentials,

25   restricted or denial of entry to future hearings, or other
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 1   sanctions that the presiding judge believes is necessary.

 2           I am prepared now to issue my detention decision.

 3   Detention decisions in these Capitol cases are very challenging,

 4   and this one is no different.      Each case, each defendant, must

 5   be considered on his or her own merits, and there are many

 6   factors to consider.    There are certain aspects of this case

 7   which weigh in favor of Mr. Morss' release and those that

 8   certainly do not.

 9           Nevertheless, having considered the entire record before

10   me, including the videos that were submitted last week and

11   the text messages and the parties' arguments and the multiple

12   hearings in this case, I find that, while I do not believe that

13   the defendant is a serious risk of flight, I do believe that

14   the government has demonstrated by clear and convincing evidence

15   that his release would pose a danger to the community and that

16   I can impose no condition or combination of conditions of release

17   that would reasonably mitigate that danger.

18           I am going to review in some detail the basis for my

19   decision now.    The transcript of this proceeding will serve

20   as the written record reflecting my detention decision in this

21   case.    So I direct the parties to order the transcript if they

22   seek to take an appeal.

23           Mr. Morss, you, of course, have the right to appeal this

24   decision to Judge McFadden if you wish.       Your attorneys will

25   help you with any appeal if that's the approach you wish to
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 1   take.

 2           With respect to the basis of my pretrial detention

 3   decision, it is as follows:

 4           With respect to risk of flight, as I indicated, I find

 5   that Mr. Morss is not a serious risk of flight.         He's 28

 6   years old.    He has a job.   He has significant connections

 7   to his community.    He is close with and has the strong

 8   support of his family.     Most significantly, he has no record

 9   of prior failures to appear for court or bench warrants.

10   Indeed, he has no criminal record whatsoever.

11           The government points to a number of texts that he

12   sent, or allegedly sent, following the assault on the Capitol,

13   wherein he allegedly states after -- plainly, he was concerned

14   about being identified and arrested for his actions on January

15   6 -- allegedly told a friend that he was "considering leaving

16   the country" because the government was "crushing everyone"

17   involved in the riot on January 6.

18           The government submits no other evidence, though, of

19   any actual planning or preparation of Mr. Morss to leave

20   the country.    Most importantly, those texts were sent in

21   January, and since that time, again, no evidence has been

22   submitted to this court with respect to any plans he may

23   have had to leave the country.

24           And despite all the publicity regarding the scope of

25   the government's investigation and the numbers of rioters
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 1   who have been arrested, when Mr. Morss was arrested some six

 2   months after January 6, he was found in his home in Pennsylvania.

 3   So, for all those reasons, I do find that he is not a serious

 4   risk of flight.

 5        Assessing, however, his danger if he were to be released

 6   in the community is a more complicated question.         The Bail

 7   Reform Act requires the court to consider four different

 8   factors.   The first factor is the nature and circumstances

 9   of the offense.

10        Because there was some dispute between the parties as to

11   what the various videos showed in this case, I did direct the

12   government last week to submit those videos for review by the

13   Court.   I have reviewed all them.     Having reviewed those videos

14   and the government's other evidence, whether presented to the

15   Court or proffered, I do make the following specific findings

16   of fact concerning Mr. Morss' alleged conduct on January 6:

17        According to those videos and the government's proffer,

18   Mr. Morss' first interaction with law enforcement at the Capitol

19   on January 6 occurred at about 2:09 p.m.        At that time, a few

20   minutes after a crowd of rioters attempted to push through a

21   fence separating that crowd from the Capitol, Mr. Morss can be

22   seen on body-worn-camera video grabbing a police officer's baton

23   and attempting to rip it away.      That is Government's Exhibit B.

24        A few minutes later, around 2:14 p.m., Mr. Morss appears

25   to speak to a person standing next to him in the crowd, and then
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 1   he suddenly reaches through the crowd to grab a fence being held

 2   by a police officer that was being used to keep the crowd back.

 3   Then, it happens quickly, but it appears, with the assistance of

 4   other rioters, Mr. Morss is successful in removing that fence,

 5   which caused that law enforcement officer or officers to retreat

 6   from that position.

 7        I'd further note that it appears from the video that

 8   Mr. Morss acted as something of an accelerant in that situation.

 9   The crowd was standing behind the fencing, not advancing, at

10   least during the period of time that's in the government's

11   video; that is until Mr. Morss suddenly pushes to the front,

12   moves the fencing, both allowing and encouraging the crowd

13   to advance on law enforcement and the Capitol.         That is

14   Government's Exhibit C.

15        A few minutes later, at approximately 2:26 p.m., Mr. Morss

16   is seen in the crowd when he addresses law enforcement and is

17   heard saying, "You guys are betraying us.        Do you get paid

18   enough to betray your people?"      I would note that he at that

19   point can be seen wearing a tactical vest and goggles.            That

20   is Government's Exhibit D.

21        Then around 2:30 p.m., after the crowd again surges forward

22   and pushes the officers further back, Mr. Morss can be seen on

23   body-worn camera video, at the front of the rioters, indicating

24   with his hand that the officers should move back.         He's heard

25   telling the officers to "back up, back up," and then he tells
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 1   them, "Take a look around," pointing to the other rioters around

 2   him, and he states: "Back up.      We're going to take our Capitol

 3   back."   That's Government's Exhibit E.

 4        Shortly thereafter, at approximately 2:33 p.m., Mr. Morss

 5   is seen attempting to pull a helmet visor out of the hands of

 6   a police officer.    The officer is then able to regain control

 7   of the visor.   That is Exhibit F.

 8        At 2:35 p.m., Mr. Morss is seen again near the front of

 9   the line of rioters, motioning at police officers to back up.

10   That's Government's Exhibit G.

11        Twenty-two minutes after that, at approximately 2:57 p.m.,

12   surveillance video shows Mr. Morss standing for a few minutes

13   near the entrance of the tunnel to the Lower West Terrace

14   entrance, which is where one of the longest and most violent

15   pitched battles occurred during the riot.        Mr. Morss can be

16   seen standing outside the tunnel for a few minutes observing

17   what is going on in the tunnel.

18        Around 3:02 p.m., Mr. Morss and a few others push forward

19   aggressively into the tunnel and towards the front of where

20   the rioters in the tunnel were confronting the line of officers

21   guarding that Lower West Terrace door into the Capitol.           That's

22   Government's Exhibit 8.

23        For the next few minutes, Mr. Morss is seen in another

24   video, Exhibit I, pushing and pulling against law enforcement

25   riot shields and the officers holding those shields inside the
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 1   Lower West Terrace tunnel, right at the doors which the

 2   officers were trying to block the rioters from entering.

 3   After about a minute, Mr. Morss could be seen using a shield

 4   to push forcefully against the officers seeking to block the

 5   entrance to the Capitol.     Mr. Morss is seen, with the assistance

 6   of other rioters, successfully ripping a shield away from a

 7   police officer.    Mr. Morss then passes that shield back through

 8   the crowd.   At that point, someone yells, "Send the shields

 9   back, send the shields back."      That's Government Exhibit I.

10        In a video, seemingly from another angle, similar scene,

11   Government's Exhibit J, Mr. Morss is seen carrying a shield

12   away from the line of police officers guarding the entrance

13   into the Capitol and then passing the shield back into the

14   crowd of rioters.    Mr. Morss is then seen leaving the tunnel.

15   That's Government's Exhibit J.

16        Moments after exiting the tunnel, Mr. Morss is seen yelling

17   at other rioters to create a "shield wall" and to pass up the

18   riot shields.   In response, shields were passed from the crowd.

19   Mr. Morss' direction was at that point standing at the entrance

20   of the Lower West Terrace tunnel.      That's Government's Exhibit K.

21        Around 3:07 p.m., Mr. Morss is seen reentering the tunnel

22   and then yelling at the rioters in the tunnel.         That's

23   Government's Exhibit L.     There's no audio in that video, but

24   it does appear that Mr. Morss is yelling at the rioters in the

25   tunnel.   Mr. Morss is then seen advancing himself towards the
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 1   front of the rioters as shields are passed forward from

 2   the crowd behind him.     That is Government's Exhibit L.

 3         Government's Exhibit M confirms all of that.        That video

 4   does have sound, and Mr. Morss is heard yelling at rioters in

 5   the tunnel, "Hey, everyone with this shield" -- and he's yelling

 6   it.   I won't yell it now. --     "Hey, everyone with this shield,

 7   back up and organize.     Make a shield wall.     You need to organize

 8   right now," he yells, "and make a shield wall."         His words:

 9   "Where are those fucking shields?      Let's go.    We need to make

10   a shield wall."    He then leads a chant: "shield wall, shield

11   wall, shield wall."

12         He's then seen pushing in unison against the rioters

13   in front of him.    A few moments later, Ms. Morss instructs

14   another rioter to "block out" or "knock out" -- it's hard to

15   hear what he says.    He says either "block out" or "knock out"

16   the surveillance camera in the tunnel.       The individual he's

17   speaking to then begins to repeatedly knock the camera with

18   the tip of a flagpole, and it appears that that rioter is

19   unsuccessful at disabling the camera.       That's Government's

20   Exhibit M.

21         A few minutes later, around 3:10 p.m., Mr. Morss is seen

22   in the tunnel passing a riot shield to another rioter, and then

23   again pushing in unison with a group in the tunnel, apparently

24   to try to break through the line of officers blocking the

25   entrance of the Capitol.     This appears to be the "heave-ho"
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 1   video that the government has referred to.        This is Government's

 2   Exhibit N.

 3        Again, N does not have sound, but the group of rioters

 4   in the tunnel, with Mr. Morss right in the middle, is very

 5   obviously surging in unison back and forward against the line of

 6   police.   This lasts for over a minute before Mr. Morss retreats

 7   out of the tunnel.     At one point, he can also be seen passing

 8   a baton over his head, the rioters behind him.         That is

 9   Government's Exhibit N.

10        Government's Exhibit O shows the scene from a different

11   angle, from that of what appears to be a rioter inside the

12   tunnel.   That video does have sound.      You can hear the rioters

13   chanting "heave-ho."     You see Mr. Morss in the middle of the

14   crowd of rioters pushing in unison against law enforcement to

15   that chant.

16        The video ends with a view of what is happening at the

17   front of the rioters, with what impact this surging crowd of

18   rioters is having on the police officers at the front who are

19   attempting to block the entrance into the Capitol.          You see

20   at the end of the video an officer who appears, to me, to be

21   screaming and baying as he's violently crushed between a door

22   frame and a shield held by one of the rioters at the front of

23   Mr. Morss' shield wall, it would appear.

24        Stated previously, it appears that Mr. Morss left the

25   tunnel at 3:14 p.m., having been in the tunnel around ten
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 1   minutes, maybe a little more.      But an hour later, Mr. Morss is

 2   seen climbing through a broken window into the Capitol building,

 3   into an unoccupied office, unoccupied by any lawmaker or staff.

 4   The government has no information at this time of what, if any,

 5   actions Mr. Morss may have taken in the office when he was there,

 6   though other rioters did damage and topple furniture in that

 7   office.   That is from videos marked as Government's Exhibits P

 8   and Q.    So that is what I believe the videos show.

 9        As a result of all that alleged criminal conduct, Mr.

10   Morss now faces a nine-count indictment charging him with

11   two misdemeanors and seven felonies, including two counts of

12   assault on law enforcement, one count of obstructing an official

13   proceeding, one count of civil disorder, and three counts of

14   robbery, or attempted robbery, for the theft or attempted theft

15   of the barrier fence, baton, and the shield from law enforcement

16   during the riot.

17        He faces 15 years on each of the robbery counts, up to

18   eight years on the assault on law enforcement counts, five

19   years on the civil disorder count, and up to 20 years in the

20   obstruction of an official proceeding charge.         Those are

21   significant federal felony criminal charges, and they do

22   reflect the seriousness of Mr. Morss' alleged criminal conduct.

23        Beyond the defendant's charges, Chief Judge Howell, in her

24   Chrestman opinion, outlined a number of criteria in which the

25   severity of the defendant's conduct on January 6 can be assessed
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 1   for purposes of detention.

 2        Those factors include whether or not the defendant has

 3   been charged with a felony or misdemeanor; engaged in prior

 4   planning before arriving at the Capitol; carried or used

 5   dangerous weapons during the riot; coordinated with other

 6   participants before, during, or after the riot; assumed a formal

 7   or de facto leadership role in the assault by encouraging other

 8   rioters' misconduct; and finally, the nature of the defendant's

 9   words and movements during the riot including whether he damaged

10   federal property, threatened or confronted federal officials or

11   law enforcement, or otherwise promoted or celebrated the efforts

12   to dispute the certification of the electoral college vote.

13        Applying those factors here, Mr. Morss' alleged conduct

14   demonstrates the seriousness and dangerousness of that conduct.

15   Again, he's charged with multiple serious felony offenses.

16        There's also evidence that he engaged in prior planning

17   before arriving at the Capitol, from which it can be reasonably

18   inferred that he came to D.C. ready for a fight.         Came dressed

19   in military fatigues, wearing a tactical vest.         Can fairly be

20   inferred from the evidence, I believe, contained armored plates.

21   And texts he sent to someone on January -- prior to January 6,

22   he states that he will be bringing his "plate carrier."

23        And when that tactical vest, which he's seen wearing

24   in the videos, is recovered in the defendant's home upon his

25   arrest, it did in fact have metal plates, armored plates, in it.
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 1   So I think the evidence supports the conclusion that the vest

 2   contained those plates.     He was wearing body armor when he came

 3   to the Capitol on January 6.      His vest was also equipped with a

 4   knife, scissors, and tourniquet.       I don't know why anyone would

 5   need any of those items, much less body armor, if their intent

 6   was to engage in a peaceful protest on January 6.

 7        As for carrying or using weapons during the riot, another

 8   one of the Chrestman factors, while the defendant apparently

 9   brought a knife in his vest, there's no evidence that he used

10   it or even took it out or that he used any other conventional

11   weapon during the riot.     At one point he is seen in the video

12   pressing a stolen police shield forcefully against a law

13   enforcement officer, and he's charged for that conduct.

14   So it's certainly assaultive conduct, but he uses the shield

15   more as a device to push the officer, not to slash him with it.

16        On the other hand, in the videos the defendant is also seen

17   multiple times trying to disarm law enforcement, first ripping

18   away protective fencing from one officer, then attempting

19   to strip a baton from another, and then actually ripping a shield

20   away from a third officer, in each case leaving those officers

21   less able to defend themselves.       So, in my mind, that conduct

22   again furthers to distinguish Mr. Morss' conduct from that of

23   other less violent rioters that day.

24        There's also evidence here of the defendant's at least

25   de facto leadership role on January 6 and other Chrestman
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 1   factors.   Most significantly, in the tunnel, as I've described,

 2   he organized efforts with the rioters to try to break through

 3   that Lower West Terrace door.

 4        He pushed his way to the front.       He ripped away a shield

 5   from the officer, and he encouraged the rioters to collect other

 6   stolen shields and then yelled repeatedly for the rioters to

 7   form a shield wall.     And that's what they did.      They used those

 8   shields and worked together in tandem to violently push against

 9   the officers and, in at least one case, crushing an officer who

10   was guarding those doors.

11        Mr. Morss engaged in similar troubling conduct earlier

12   in the riot when he, once again, acting as a leader or instigator,

13   got others near him to work as a group to remove that protective

14   fencing from the control of a police officer, causing law

15   enforcement to retreat.

16        So, for all these reasons, I do believe that Mr. Morss'

17   alleged conduct on January 6 is not fairly described as a

18   spontaneous "just getting caught up in the moment" kind of

19   thing.   Rather, I find that he came to the Capitol suited up --

20   his words from his texts -- "suited up" for violence.

21        He was an active and enthusiastic participant in the

22   riot for a sustained period of time, over two hours.          And

23   through his direction and coordination, he increased the level

24   of force and violence of rioters around him directed towards

25   law enforcement.    Together, that conduct in my view places
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 1   Mr. Morss in a "different category of dangerousness," to use

 2   the words of the Court of Appeals in Munchel.         So I do find

 3   that the nature and circumstances of the charged offense weigh

 4   in favor of his pretrial detention.

 5          The second Bail Reform Act factor, the weight of the

 6   government's evidence against the defendant, also weighs in

 7   favor of his detention.     The government's evidence of Mr. Morss'

 8   criminal conduct on January 6 is very strong.

 9          Stated previously, defendant's actions alleged in the

10   indictment were culled from multiple surveillance videos, police

11   body-worn camera videos, and on high-definition media and social

12   media videos.    Multiple witnesses, many of whom know him

13   personally, have identified him from high-definition photographs

14   from that day.    Other records, I think they're gas station and

15   Uber receipts, tie him to the D.C. area on or around January 6.

16          Further, a search of his home incident to his arrest

17   resulted in the recovery of the tactical vest and other clothing

18   and items that he appears to be wearing in the videos from that

19   day.   The government has also recovered incriminating texts from

20   Mr. Morss regarding his planning for that day in reaction to the

21   government's investigation thereafter that I believe reflects a

22   consciousness of guilt.

23          That's a very strong case with respect to the government's

24   charges.   Given what the evidence and videos show he allegedly

25   did on January 6, the government also has strong evidence of
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 1   his dangerousness, as I have outlined.        Accordingly, the weight

 2   of the evidence also weighs in favor of his pretrial detention.

 3        With respect to Mr. Morss' history and characteristics,

 4   the third Bail Reform Act factor, I've already mentioned many

 5   of those characteristics which certainly do weigh in favor of

 6   his release.

 7        He has no failures to appear for court.         Indeed, he has

 8   no criminal record whatsoever.      He has strong connections to

 9   his family and his community including his efforts to become a

10   teacher, his present employment, his commendable work on behalf

11   of veterans -- and I did, I saw the mural.        And I understand

12   that he was instrumental in making that happen, and I appreciate

13   that great effort over the many months that that must have took.

14        Further, he is a veteran himself, having served with

15   distinction as an Army Ranger with three tours of combat duty in

16   Afghanistan.    He also apparently suffers from untreated PTSD as

17   a result of his combat service but is willing to seek treatment

18   for it as a part of his release in this case, which is a good

19   and commendable thing.

20        In my view, however, those positive characteristics

21   are undercut by other factors.      First, Mr. Morss' status as a

22   former Army Ranger is undermined, given that it appears that

23   he is willing to use his -- whether you call it "training" or

24   "experience" to organize the rioters on January 6, thereby

25   making their actions against law enforcement more effective,
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 1   more forceful, and more violent.

 2        Based on my review of the government's exhibits,

 3   Exhibits J through O, the mass of rioters in the West Terrace

 4   tunnel appeared disorganized before Mr. Morss arrived; that is,

 5   until he ordered them, again and again, to make a shield wall

 6   to work in unison against law enforcement.        And that's what

 7   the rioters did.    They followed his orders: passed the police

 8   shields to the front of their line and surged in unison back

 9   and forth against law enforcement, as I said, crushing at least

10   one officer at the front in the process.

11        Mr. Morss can also be seen directing another rioter

12   to block or knock out a surveillance camera in the tunnel.

13   Earlier in the afternoon, as stated, he can be seen in the

14   video organizing rioters to remove a police barrier fence,

15   which they did, causing law enforcement to retreat.

16        Thus, Mr. Morss was, in my view, a leader, an instigator,

17   during the riot.    And it appears to me from the videos, in the

18   middle of all that melee, he was in his element.         He was calm,

19   confident, bold - ready, willing, and able to take charge,

20   all things you might expect from a former Army Ranger with

21   battlefield experience.

22        In Munchel, the Court of Appeals directed that assessing

23   the threat posed by a January 6 rioter depends in part on their

24   resources and capabilities.      Here I think those considerations

25   work against Mr. Morss given his military experience and training
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 1   and apparent willingness to use it in the service of political

 2   violence, which increases the level of danger that his release

 3   poses to the community.

 4        The second factor that I believe undercuts the other

 5   positive characteristics weighing in favor of his release is

 6   there is evidence that he has not disclaimed the views that

 7   appear to have led to his decision to engage in political

 8   violence on January 6.

 9        He apparently had such misguided beliefs on January 6.

10   You hear it in the videos, or it can be fairly inferred from

11   the videos, as he taunts law enforcement protecting the Capitol,

12   asking them if they got paid enough to betray their people, and

13   then telling them to back up because he and the other rioters

14   were "going to take our Capitol back."

15        Notably, in his texts after January 6, he does express

16   remorse, but it appears to me to be in the context of him

17   fearing getting caught for what he had done, and it is followed

18   quickly with him considering leaving the country to avoid

19   arrest.   You do not see in those texts any repudiation by him

20   of the beliefs that apparently led to him engaging in political

21   violence on January 6 or a repudiation of his alleged conduct

22   on that day.

23        Even more concerning, when Mr. Morss was arrested some

24   six months after the attack on the Capitol, law enforcement

25   found in his car a notebook that included two handwritten pages.
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 1   On one of those pages, it says "Step by Step to Create Hometown

 2   Militia."   Notably, as the defense has argued, the pages from

 3   the notebook are not dated, raising the possibility that they

 4   may have been written by Mr. Morss prior to January 6.             But even

 5   if that were the case, the notebook was still in his possession

 6   months later.    It does not suggest to me that he has disclaimed

 7   its contents.    Just the opposite.

 8        Defense has also argued that the defendant was just

 9   "journalling" when he wrote about forming a militia in

10   the notebook.    Even so, it's very concerning for the Court,

11   especially in the context of the defendant's background as

12   an Army Ranger and given what he is alleged to have done

13   on January 6.    And it is some journal, if that's what it is.

14        Below where he wrote "Step By Step to Creating a Hometown

15   Militia," there is a handwritten list that includes the following:

16   "Buddy Teams," "Room Clearing," "Battle Drills," "Formations,"

17   "Reaction to Contact," and "Ambush."       The notes also include a

18   list of what appears to be over 10 names of real individuals

19   the government tells me that were redacted out of the public

20   version, and next to that list of names there are additional

21   handwritten notes that read: "Bring Kit/Body Armor" and "Bring

22   Assault Rifle."

23        Notably, a firearm was also found in Mr. Morss' car

24   where the notebook was found.      Two more firearms were found

25   in his house.    Three others were recovered from a friend at a
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 1   place where Mr. Morss stayed in the months prior to his arrest.

 2   So law enforcement has recovered a total of six firearms

 3   associated with Mr. Morss.      I don't have any reason to believe

 4   that those firearms were unlawfully possessed by him, but,

 5   nevertheless, he does seem to have ready access to firearms.

 6   No assault rifle, however, was recovered.        All of that, in

 7   combination, is concerning to the Court.

 8        In sum, given all of the above, I do find that the positive

 9   aspects of Mr. Morss' history and characteristics are undermined

10   both by his willingness to use his experience and training in

11   the service of political violence on January 6, by the absence

12   of evidence that has repudiated the beliefs that caused him to

13   engage in that violence allegedly - and, indeed, the evidence

14   pointing to the contrary, including with respect to the creation

15   of a hometown militia and by also his easy access to firearms.

16        So, therefore, I do not believe that the third Bail

17   Reform Act factor favors release in this case.         Certainly,

18   in my view, those positive aspects of the defendant's history

19   and characteristics do not outweigh the other 3142(g) factors

20   which I believe weigh in favor of his pretrial detention.

21        The final Bail Reform Act factor, and the ultimate inquiry,

22   really, is the nature and seriousness of the danger to any

23   person or the community that would be posed by the defendant's

24   pretrial release.    For many of the reasons I've already stated,

25   I find that this factor also weighs in favor of Mr. Morss'
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 1   detention.

 2        For this factor, the Court of Appeals observed in Munchel

 3   the defendant must present "an identified and articulable threat

 4   to an individual or the community."       That threat should also be

 5   prospective in nature.     Further, such a "threat must be considered

 6   in context" and "depends on the nature of the threat identified

 7   and the resources and capabilities of the defendant."

 8        The Court also stated in Munchel that "those who actually

 9   assaulted police officers and broke through windows, doors,

10   and barricades, and those who aided, conspired with, planned,

11   or coordinated such actions, are in a different category of

12   dangerousness than those who cheered on the violence or entered

13   the Capitol after others cleared the way."

14        That is not a per se rule requiring that all who assault

15   police officers on January 6 are to be detained pretrial.          The

16   Circuit's more recent cases make that clear.         But being charged

17   with such conduct is certainly an important consideration in

18   the dangerousness analysis.      Here, the defendant does fall into

19   that "different category of dangerousness."

20        He did not just cheer on the violence, nor was he just an

21   idle participant in the riot.      Rather, he's charged with violent

22   offenses stemming from the assaults on the Capitol, three counts

23   of robbery alleging that he stole or attempted to steal equipment

24   from law enforcement needed to protect them.         In that sense, he

25   is like Thomas Sibick, whose pretrial detention was affirmed by
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 1   the Circuit in a published decision in May.

 2        According to the Court of Appeals in that case, Mr. Sibick

 3   participated in "an ongoing violent assault on a police officer

 4   at the Capitol on January 6, 2021, ripping off the officer's

 5   radio - his lifeline for help - and his badge."         Mr. Morss

 6   engaged in conduct at least as dangerous as that here when

 7   he stole police officers' shields and then used them against

 8   law enforcement.

 9        Beyond the robbery counts, Mr. Morss also faces those

10   two felony counts for assaulting police officers on January 6,

11   allegations that again charge him with the organization of the

12   rioters to form a shield wall and move in unison against the

13   officers in the West Terrace tunnel.

14        Mr. Morss led that sustained assault.        Based on my review

15   of the video, he did so in a rather bold fashion despite being

16   in a public setting surrounded by people filming his actions,

17   despite the presence of law enforcement, despite the harm that

18   his actions could cause.

19        For all those reasons, I do find he's a danger to the

20   community, and measurably more so than many other defendants

21   who entered the Capitol on January 6.        Like Chief Judge Howell

22   found in Chrestman, Mr. Morss' conduct raises "grave concerns"

23   about his "disregard for the institutions of government and the

24   rule of law."

25        This conduct also cannot be construed, I believe, as a
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 1   momentary lapse of reason in an otherwise law-abiding life

 2   as other defendants have successfully argued with respect to

 3   their actions at the Capitol.      This violent and assaultive

 4   conduct that day was not momentary.       It lasted over hours.

 5        And the government has presented evidence that the

 6   conduct was not unpremeditated.       Mr. Morss, as I indicated,

 7   came prepared for a fight that day.       He didn't stumble into

 8   the violence.    I find that he planned for it, and that makes

 9   him a significantly greater danger to the community when

10   compared to some other rioters that day.

11        Finally, the Circuit has instructed this court in Munchel

12   that it must also consider the "specific circumstances that

13   made it possible on January 6 for a defendant to threaten the

14   peaceful transfer of power" and to consider how the defendant

15   "would be capable of doing so now that the specific circumstances

16   of January 6 have passed."

17        For the reasons I've stated previously, the government

18   has provided, I believe, sufficient evidentiary basis for this

19   court to find that while January 6 may have passed, the fight

20   for Mr. Morss continues.      If he's repudiated the beliefs and

21   views that caused his alleged conduct on January 6, I haven't

22   seen it.   What I have seen, again, are those handwritten notes

23   that he contemplated forming a hometown militia.

24        So, I do find, as Chief Judge Howell did in Chrestman,

25   there's sufficient evidentiary basis to believe that Mr. Morss
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 1   would not refrain from using force and violence in the future,

 2   or aid and abet the use of such force and violence by others to

 3   advance his views, and that he has the resources and capability

 4   to make that threat a real one.       Therefore, for all these

 5   reasons, I find that the fourth Bail Reform Act factor weighs

 6   in favor of pretrial detention.

 7        In sum, considering all those factors, I do find the

 8   government has proven by clear and convincing evidence that

 9   Mr. Morss' release would pose a danger to the community.           I've

10   also considered all possible conditions of release and believe

11   that they are insufficient to reasonably mitigate the danger

12   that his release would pose to the community.         I do not know of

13   conditions that could reasonably mitigate the risk that he may

14   try to form a militia.

15        I do appreciate the efforts, extreme efforts, made by his

16   parents to try to come up with an acceptable release plan for

17   their son.   They are plainly devoted to him.        But I'm not going

18   to place on them the responsibility to ensure the safety of the

19   community.

20        I believe the danger Mr. Morss' release represents to the

21   community is too great to risk the possibility the conditions I

22   may set are insufficient to mitigate it.        Accordingly, I remand

23   him into the custody of the United States Marshal for pretrial

24   detention.

25        For the record, I have considered Mr. Morss' alleged offense
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 1   and history and characteristics in comparison to his codefendants

 2   as well as other January 6 defendants, and I believe the decision

 3   here to detain him today is not inconsistent with the treatment

 4   of those defendants, specifically with respect to his codefendants,

 5   some of whom have been released pretrial.

 6        None of them, in my view, present the same combination

 7   of factors that I believe makes Mr. Morss' release a danger

 8   to the community, including his prior planning for violence

 9   before January 6; his sustained, over two-hour assault on law

10   enforcement seeking to protect the Capitol; his leadership

11   of the rioters that increased their violence that day against

12   law enforcement; his apparent easy access to firearms, and

13   evidence that he has some interest in forming a militia.

14   And he has the skills and resources, I believe, to do so.

15        So, Mr. Morss, you may of course, as I indicated at

16   the start, appeal my detention decisions to Judge McFadden.

17   Perhaps he will see it differently.       Your counsel will tell

18   you how to lodge such an appeal if that's what you wish to do.

19        Government, anything further we need to do here today?

20              MS. JACKSON:    The only other issue, Your Honor,

21   is we'd ask that time be tolled until the next hearing be

22   held, which is August 5.      It's being tolled in all of his

23   codefendant cases; and under the standing order we believe

24   it would also be tolled.      But also in the interest of justice,

25   we believe it should be tolled given the complex nature of
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 1   the facts here and the amount of evidence that needs to be

 2   properly provided to defense.

 3               THE COURT:   Okay.

 4        Counsel for the defense, what's your position?

 5               MS. GAUGHAN:   Judge, we don't have an objection at

 6   this stage for tolling till the August 5th date.

 7               THE COURT:   Right.   Just to the next date is all we're

 8   tolling it to.    The next date will be before Judge McFadden,

 9   August 5.   I will then toll all time for the reasons stated

10   by the government, and with the consent of the defense, all time

11   under the Speedy Trial Act between now and August 5.          I do find

12   that such a tolling would be in the interest of justice and

13   outweighs the interest of the defendant and the public in a

14   speedy trial.    Anything further from the defense?

15               MS. GAUGHAN:   No, Your Honor.     Thank you.

16               THE COURT:   All right.    Mr. Morss, I wish you the

17   best of luck in your case going forward.        I mean that.

18        Parties are excused.

19        (Proceedings adjourned at 4:44 p.m.)

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                              CERTIFICATE

           I, BRYAN A. WAYNE, Official Court Reporter, certify

that the foregoing pages are a correct transcript from the

record of proceedings in the above-entitled matter. *




                          /s/ Bryan A. Wayne
                          Bryan A. Wayne




* PLEASE NOTE:

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